            Case 1:12-vv-00698-UNJ Document 51 Filed 09/05/14 Page 1 of 7




               In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 12-698V
                                          (Not to be published)

*************************
                           *
LINDA WAYE,                *
                           *                                     Filed: August 8, 2014
               Petitioner, *
                           *
          v.               *
                           *
SECRETARY OF HEALTH        *                                     Decision by Stipulation; Damages;
AND HUMAN SERVICES,        *                                     Hepatitis B (Hep B) Vaccine; Shoulder
                           *                                     Injury Related to Vaccine Administration
               Respondent. *                                     (SIRVA)
                           *
*************************

Clifford J. Shoemaker, Shoemaker and Associates, Vienna, VA, for Petitioner.

Glenn A. MacLeod, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES 1

        On October 16, 2012, Linda Waye filed a petition seeking compensation under the
National Vaccine Injury Compensation Program (“the Vaccine Program”). 2 Petitioner alleges
that she suffered a shoulder injury related to vaccine administration (“SIRVA”) as a result of
receiving the Hepatitis B (“Hep B”) vaccination.

1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the United
States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, §
205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction “of
any information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to
the public. (Id.)
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34
(West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A.
' 300aa.
           Case 1:12-vv-00698-UNJ Document 51 Filed 09/05/14 Page 2 of 7




        Respondent denies that Petitioner’s SIRVA or any related medical problems were caused
by the receipt of the Hep B vaccine. Nonetheless both parties, while maintaining their above-
stated positions, agreed in a stipulation August 8, 2014 that the issues before them can be settled,
and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages on the terms
set forth therein.

        The stipulation awards:

               a) A lump sum of $15,000.00, in the form of a check payable to Petitioner. This
                  amount represents compensation for all damages that would be available under
                  42 U.S.C. §300aa-15(a).
Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made
to Petitioners. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith. 3




        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly (or separately) filing
notice(s) renouncing their right to seek review.
Case 1:12-vv-00698-UNJ Document 51 Filed 09/05/14 Page 3 of 7
Case 1:12-vv-00698-UNJ Document 51 Filed 09/05/14 Page 4 of 7
Case 1:12-vv-00698-UNJ Document 51 Filed 09/05/14 Page 5 of 7
Case 1:12-vv-00698-UNJ Document 51 Filed 09/05/14 Page 6 of 7
Case 1:12-vv-00698-UNJ Document 51 Filed 09/05/14 Page 7 of 7
